Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 1 of 20




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. __________________

  JONES LANG LASALLE AMERICAS, INC.,

                          Plaintiff,

  v.                                                                     JURY TRIAL REQUESTED

  VESSEL OPERATING HOLDCO LLC and
  REEF TECHNOLOGY, INC.,

                    Defendants.
  ________________________________________/

                                                COMPLAINT

         Plaintiff Jones Lang LaSalle Americas, Inc. (“JLL”), by and through undersigned

  counsel, files this Complaint against Defendants Vessel Operating Holdco LLC (“Vessel”)

  and Reef Technology, Inc. (“Reef”) (collectively “Defendants”). For its causes of action, JLL

  states the following:

                             PARTIES, JURISDICTION, AND VENUE

         1.      Plaintiff JLL is a Maryland corporation with its principal place of business in

  Chicago, Illinois. JLL is thus a citizen of Maryland and Illinois.

         2.      Defendant Vessel is a Delaware limited liability company with its principal

  place of business in Miami, Florida. Upon information and belief, the members of Vessel are

  citizens of Delaware and Florida. Vessel is thus a citizen of Delaware and Florida.

         3.      Defendant Reef is a Delaware corporation with its principal place of business

  in Miami, Florida. Reef is thus a citizen of Delaware and Florida.




                                        Shook, Hardy & Bacon L.L.P.
          Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 2 of 20




             4.     This Court has personal jurisdiction over both Defendants Vessel and Reef, as

  they have their principal places of business and conduct substantial operations in Florida and

  this district.

             5.     The amount in controversy between the Parties, as more specifically discussed

  herein, exceeds $75,000.00, exclusive of interest and costs.

             6.     This Court therefore has subject matter jurisdiction over this civil action

  pursuant to 28 U.S.C. § 1332(a).

             7.     Venue is appropriate in this Court for this dispute pursuant to 28 U.S.C. §

  1391(b) because a Defendant resides in this District, a substantial part of the events or

  omissions giving rise to the action occurred in this District, and/or a substantial part of

  property that is the subject of the action is situated in this District.

                                         GENERAL ALLEGATIONS

             8.     JLL is a global commercial real estate services company that, among other

  things, manages real estate and provides property and project management services for its

  clients.

             9.     JLL accordingly enters into contracts, statements of work, and other

  agreements with its clients to provide property and project management services, including

  services to maintain and repair the client’s properties and equipment.

             10.    Reef proclaims that it is the largest operator of parking real estate in North

  America.




                                                       -2-
                                           Shook, Hardy & Bacon L.L.P.
             Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 3 of 20




         11.        Part of Reef’s business model is to use its network of parking-lot sites

  throughout the United States and Canada to host vessels that serve as “ghost kitchens”1 or

  other retail outlets. These vessels are essentially vehicle trailers that are equipped with full-

  service kitchens, which are either parked in parking lots or driven around as a food trucks.

  Different restaurants’ menu items could be prepared in these vessels for pickup by food

  delivery services.

         12.        Reef desired for JLL to provide variable facilities maintenance and repair

  services for the kitchen and retail vessels across Reef’s network of sites. In particular, Reef

  desired for JLL to manage reactive maintenance and repair work for the kitchen and retail

  vessels.

         A. Pilot Project

         13.        Before fully launching JLL’s provision of maintenance and repair services for

  Reef across its network of sites and vessels, the Parties decided to undertake a pilot project.

         14.        Reef issued purchase orders to JLL for the pilot project. One was Purchase

  Order 15395 relating to certain fees and expenses, including JLL’s management fees, and

  totaled $544,500.00. See Purchase Order 15395 (dated July 1, 2021) (Exhibit A).

         15.        JLL issued invoices to Reef for the fees and expenses, including JLL’s

  management fees, owed for the services provided pursuant to the pilot project and Reef’s

  Purchase Orders. Four such invoices issued by JLL to Reef for fees and expenses from the




  1
   “Ghost kitchens are commercial kitchens that exclusively prepare delivery orders. The word ‘ghost’
  refer to the fact that you can’t walk up to these places to order – nor can you sit down and eat your
  food there.” Ghost kitchens “can be repurposed retail stores, warehouses [and] shipping containers.”
  See What Is a Ghost Kitchen?, https://reeftechnology.com/kitchens/what-is-a-ghost-kitchen (last
  accessed Apr. 12, 2022).
                                                       -3-
                                           Shook, Hardy & Bacon L.L.P.
             Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 4 of 20




  pilot program included Invoices Reef111821-US-15395, Reef112321-US-15395, Reef121621-

  US-15395, and Reef122921-US-15395.

         B. Master Services Agreement

         16.     Desiring to fully launch JLL’s provision of maintenance and repair services for

  Reef’s network of sites and vessels, JLL and Reef then negotiated and agreed upon the terms

  and conditions of the written agreement that would govern the provision of those services.

         17.     However, before JLL and Reef consummated the deal, Reef advised JLL that

  it desired for its affiliate Vessel to be the party to enter into the written contract with JLL for

  the maintenance and repair services. JLL acceded to Reef’s request.

         18.     Accordingly, on July 9, 2021, JLL and Vessel entered into a Master Services

  Agreement (“MSA”), wherein JLL agreed to provide variable facilities maintenance and

  repair services, through its own employees and/or contractors, across Reef/Vessel’s network

  of sites and vessels. See MSA (Exhibit B).

         19.     The MSA provided that the Parties would enter into a Statement of Work

  (“SOW”) for the services JLL would perform at Reef/Vessel’s facilities. See MSA, ¶ 1.1.

         20.     The MSA further provided that, before JLL performs any services pursuant to

  an SOW, it must first receive an approved purchase order from Reef/Vessel. See MSA, ¶ 1.1.

         21.     The Parties accordingly entered into an SOW, attached as Exhibit A to the

  MSA, wherein JLL agreed, expecting to be compensated, to maintain and repair the kitchen

  and retail vessels’ structural issues, hot-cold equipment, fire suppression systems, electrical

  systems, plumbing, and heating and cooling systems. See MSA, Ex. A-SOW.




                                                    -4-
                                        Shook, Hardy & Bacon L.L.P.
          Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 5 of 20




         22.     The SOW provided that JLL would receive maintenance and repair work

  orders via Reef/Vessel’s work order system and would then provide services to ensure the

  work order was satisfactorily addressed and resolved. See MSA, Ex. A-SOW.

         23.     Reef/Vessel, in turn, agreed to compensate JLL for the services provided as set

  forth in Exhibit B to the MSA. See MSA, ¶ 2.1.

         24.     The MSA provides that it is to be construed under the laws of the state of

  Delaware and the federal laws of the United States, see MSA, ¶ 9.5, and that, in litigation with

  respect to the MSA, the prevailing party is entitled to recover its reasonable attorneys’ fees

  and court costs from the losing party, see id., ¶ 9.1.

         C. The MSA’s Compensation and Termination Provisions

         25.     The MSA’s Exhibit B, entitled Compensation, detailed how JLL would be

  compensated:

                 a. Labor Costs – JLL was to be reimbursed for “Labor Costs,” which includes

                      the salaries, wages, overtime, and bonuses for the JLL employees dedicated

                      to providing the services (and a portion of those JLL employees partially

                      dedicated to providing the services) plus an associated burden charge of

                      thirty-seven percent (37%) of the sum of the base salary and wages and

                      bonuses for each non-union JLL employee. See MSA Ex. B-Compensation,

                      ¶ 5.1.

                 b. Platform Costs – JLL was to be reimbursed for “Platform Costs,” which

                      were a proportionate share of costs incurred by JLL for platform support

                      resources, such as human resources, sourcing, and finance administration

                      as detailed in Attachment B-2-Platform Costs. See id., ¶ 5.2.


                                                    -5-
                                        Shook, Hardy & Bacon L.L.P.
          Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 6 of 20




                   c. Pass-Through Goods and Services – JLL was to be reimbursed for goods

                        and services, costs directly passed to Reef/Vessel without a mark-up, such

                        as subcontractor fees and expenses, costs of supplies and materials to

                        perform services, costs to correct any violations of laws not caused by JLL’s

                        negligence or willful misconduct, cost of capital expenditures pursuant to

                        an approved budget, and for time and materials for work performed by

                        JLL’s mobile maintenance technicians. See id., ¶ 5.3.

                   d. Other Items and Charges – JLL was to be reimbursed or paid for any other

                        costs, expenses, charges and allocations of JLL related to the services,

                        provided they are approved in advance in writing by Reef/Vessel. See id., ¶

                        5.4.

                   e. Out of Scope Services – JLL was to be reimbursed for any services JLL

                        agreed to perform, outside the scope of the MSA, provided the costs,

                        expenses, charges, and allocations were approved in advance in writing by

                        Reef/Vessel. JLL was entitled to its 7% fee for out-of-scope services unless

                        otherwise agreed to. See id., ¶ 5.5.

                   f. Management Fee – JLL was to receive a “Management Fee” for services

                        provided, equal to seven percent (7%) of the aggregate of all costs managed

                        by JLL, except for Labor Costs and Platform Costs. See id., ¶ 3.1.

            26.    The MSA’s Exhibit B further provided that Reef/Vessel would prepare, and

  the Parties would agree upon in writing, an “Approved Budget” for the annual costs of the

  services to be provided by JLL under the MSA and its SOW. See MSA Ex. B-Compensation,

  ¶ 1(a).


                                                      -6-
                                          Shook, Hardy & Bacon L.L.P.
            Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 7 of 20




         27.     The Parties’ initial Approved Budget, Attachment B-3 to the MSA’s Exhibit B

  on Compensation, covered the year from the commencement of JLL providing the services

  on July 1, 2021, through June 30, 2022, and totaled $11,533,190.00. See MSA Ex. B-

  Compensation, ¶ 1(b)-(c) & Attachment B-3.

         28.     Consistent with the Approved Budget, the Parties agreed that Reef/Vessel

  would submit to JLL two (2) purchase orders per year, one (1) for facilities in the United

  States and one (1) for facilities in Canada, for the services JLL would provide under the MSA

  and SOW. See MSA Ex. A-SOW, ¶ 7.2.

         29.     The Parties further agreed that JLL would submit to Reef/Vessel four (4)

  invoices per month for all costs payable under the agreement, two (2) for services performed

  for facilities in the United States and two (2) for services performed for facilities in Canada.

  See MSA Ex. A-SOW, ¶ 7.1.

         30.     The MSA required payment of JLL invoices within thirty (30) days of their

  receipt. See MSA, ¶ 2.2.

         31.     Payments were considered delinquent if a JLL invoice was not paid with forty-

  five (45) days after its due date. See MSA, ¶ 2.2.

         32.     Delinquent payments earned interest (accruing from the applicable due date) at

  the lesser of: (i) the rate of one and one-half percent (1.5%) per month; or (ii) the maximum

  rate permitted by law from the date due until paid. See MSA, ¶ 2.2.

         33.     JLL could terminate the MSA due to Reef/Vessel’s failure to perform its

  obligations under the MSA, including failing to pay JLL for services provided. See MSA, ¶

  3.1.




                                                    -7-
                                        Shook, Hardy & Bacon L.L.P.
          Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 8 of 20




         34.     Upon JLL providing written notice of default due to non-payment, the MSA

  provided Reef/Vessel with ten (10) business days to remedy the default. See MSA, ¶ 3.1. If

  those ten (10) days expired without the default from the non-payment being remedied, JLL

  had the authority to terminate the MSA for cause without further notice. See id.

         D. Transition Fees

         35.     Recognizing the significant investment being made by JLL to meet its

  obligations under the MSA and the potential for an early termination of the MSA, the MSA

  provided for a Transition Fee if JLL terminated the MSA for cause before the conclusion of

  the MSA’s initial three (3)-year term. See MSA, Ex. B-Compensation, ¶ 2.

         36.     The agreed-to Transition Fee was $244,778, which was to be amortized on a

  straight-line depreciated fashion over the three (3)-year term of the MSA. See MSA, Ex. B-

  Compensation, ¶ 2.

         37.     The monthly depreciation of the Transition Fee is thus $6,799.39. Hence, as of

  March 18, 2022, the remaining amount of the Transition Fee totaled $190,383.

         E. Work Order System

         38.     In order for JLL to complete its contractual obligations, it was provided access

  to Reef/Vessel’s work order system. This ensured that JLL could access the details of the

  work orders from Reef/Vessel and satisfactorily address those work orders.

         39.     The work order system also included sufficient detail about the services

  provided by JLL and invoiced to Reef/Vessel, allowing Reef/Vessel to review the exact

  breakdown of costs and services provided by JLL and invoiced to Reef/Vessel.




                                                    -8-
                                        Shook, Hardy & Bacon L.L.P.
          Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 9 of 20




         F. JLL’s At-Risk Management Fee

         40.     JLL agreed to place fifty percent (50%) of its Management Fee “at risk,”

  meaning Reef/Vessel’s obligation to pay fifty percent (50%) of the Management Fee would

  be contingent on JLL’s performance. See MSA, Ex. B-Compensation, ¶ 4.

         41.     The Parties agreed JLL’s performance would be measured by its Key

  Performance Indicator (“KPI”) score, ranging between 1 and 5. See MSA, Ex. B-

  Compensation, ¶ 4. The Parties agreed to the following table, included in Paragraph 4 of the

  MSA’s Exhibit B-Compensation, reflecting the percentage of the Management Fee that JLL

  would be entitled to receive based on its KPI score:




         42.     Thus, if, for example, JLL received a low KPI score of 1, it would be entitled

  to only fifty percent (50%) of the Management Fee. See MSA, Ex. B-Compensation, ¶ 4.

  However, if JLL received a KPI score of 5, JLL would be entitled to receive 120% of its

  Management Fee. See id.

         43.     The Parties agreed to determine on a quarterly basis the KPI score and any

  payments due for the Management Fee “at risk.” See MSA, Ex. B-Compensation, ¶ 4.5. If

  JLL earned a KPI score less than 3.5, it was required to refund the appropriate amount of the

  Management Fee back to Reef/Vessel. See id. And if JLL earned a KPI score of 4.0 or greater,


                                                    -9-
                                        Shook, Hardy & Bacon L.L.P.
          Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 10 of 20




   Reef/Vessel was required to pay JLL the additional performance incentive fees earned for

   that quarter. See id.

          44.     The KPI score was based on JLL’s performance under the MSA, including

   performance against expense projections and work order completion time for standard,

   scheduled, emergency, and emergency closure requests. See MSA, Ex. B-Compensation, ¶ 4.

          45.     JLL’s KPI score thus depended, in large part, on JLL’s ability to timely obtain

   performance from the personnel and subcontractors it enlisted for the maintenance and repair

   services specified in the work orders received from Reef/Vessel. JLL’s ability to obtain such

   timely performance depended, in turn, on JLL’s ability to timely compensate those

   performing the services. And JLL cannot timely compensate the service providers if

   Reef/Vessel has failed to timely pay JLL. That is the circumstance that unfortunately

   manifested here.

          G. Purchase Orders and Invoices To/From Reef, Not Vessel

          46.     Although Reef made a last-minute substitution of Vessel as the party to the

   MSA with JLL, from the start of the MSA, JLL received purchase orders from Reef, not

   Vessel. See Purchase Order Nos. 1196 and 16018 (dated July 8, 2021) (Exhibits C and D).

          47.     JLL has accordingly issued invoices to Reef for the services provided under the

   MSA, referencing the Reef purchase orders in each invoice, as required by the MSA. See

   MSA, Ex. B-Compensation, ¶ 7.

          48.     When the Parties were calculating the KPI score and amounts due for the “at

   risk” portion of the Management Fee for 2021 Q3, JLL sent the correspondence to Reef, not

   Vessel, and the calculations were agreed to by an employee of Reef, not Vessel. See Jan. 18,

   2022 Letter (Exhibit E).


                                                    -10-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 11 of 20




          49.     In addition, when JLL was requested to open its books and records for an audit

   of the work performed under the MSA, the request came on Reef letterhead and began “Vessel

   Operating Holdco LLC (“REEF”) hereby notifies….” See March 18, 2022 Letter (Exhibit F).

          50.     Based on the foregoing facts and course of dealings, it is clear that there is no

   legal distinction between Reef and Vessel. They are, in essence, one in the same entity,

   effectively operating as the other’s alter ego for all material purposes herein. They are both

   therefore liable for obligations undertaken by Reef/Vessel in the MSA, including, without

   limitation, the obligation to timely pay the invoices issued by JLL thereunder.

          H. Reef Fails to Fully and Timely Pay for Services Provided by JLL

          51.     Starting in October 2021, only four (4) months after entering into the MSA,

   well aware of its obligations to compensate JLL for services rendered, Reef/Vessel began to

   breach the MSA.

          52.     As it had done since the commencement of the Parties’ contractual

   relationship, on October 25, 2021, JLL issued an invoice (totaling $259,680.03) to

   Reef/Vessel for JLL’s expenses under the MSA for services provided in the United States for

   the preceding time period. See Invoice dated Oct. 25, 2021 (Exhibit G).

          53.     To JLL’s surprise, Reef/Vessel failed to fully pay the October 25, 2021, invoice

   and fully compensate JLL for services rendered. Reef/Vessel instead began its practice of

   paying JLL only for the work provided by JLL’s subcontractors and excluded any payment

   for JLL’s services, including payroll and other fees authorized by the MSA. Of the

   $259,680.03 owed, Reef/Vessel paid JLL only $181,289.70, leaving JLL in the negative by

   $78,390.33.

          54.     JLL continued to timely invoice Reef, but Reef/Vessel continued its practice


                                                    -11-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 12 of 20




   of underpayment to JLL for the remainder of 2021, while continuing to demand and accept

   JLL’s services.

          55.     Starting in 2022, Reef/Vessel stopped paying JLL for anything, including for

   work by JLL’s subcontractors as well as JLL’s fees.

          56.     A chart detailing Reef/Vessel’s payment failures is below and attached as

   Exhibit H. It includes invoices not timely and fully paid by Reef/Vessel for JLL’s services

   provided during both the pilot project (invoices ending with “15395” for Reef Purchase Order

   15395) and under the MSA (invoices ending with “16018” and “1196” for Reef Purchase

   Orders 16018 and 1196).

                                                                              Partial               Total
    JLL Invoices Due from                 Outstanding Amount
                                                                              Payment               Invoice
    REEF                                  (USD) as of 3/31/22
                                                                              Made                  Amount
    Reef102521-US-16018                                       78,390.33           181,289.70          259,680.03
    Reef111821-US-15395                                          587.43             3,091.73            3,679.16
    Reef111821-US-16018                                       45,036.89           235,241.68          280,278.57
    Reef112321-US-15395                                          602.64             3,171.81            3,774.45
    Reef112321-US-16018                                       21,025.90           300,369.97          321,395.87
    Reef11422-US-16018                                       361,167.38                    -          361,167.38
    Reef121621-US-15395                                          370.26             1,948.76            2,319.02
    Reef121621-US-16018                                       38,363.31           548,047.35          586,410.66
    Reef122321-US-16018                                       61,215.24           171,716.54          232,931.78
    Reef12622-US-16018                                       503,197.15                    -          503,197.15
    Reef12921-US-15395                                         7,245.20            38,132.00           45,377.20
    Reef12921-US-16018                                       107,936.59           419,904.48          527,841.07
    Reef22122-US-16018                                       477,915.24                    -          477,915.24
    Reef22522-US-16018                                       422,296.61                    -          422,296.61
    Reef2922-US-16018                                        364,334.24                    -          364,334.24
    Reef31122-US-16018                                       427,122.56       -                       427,122.56
    Reef31822-US-16018                                       269,022.78       -                       269,022.78
    Reef32522-US-16018                                       150,499.81       -                       150,499.81
    TOTAL                                                  3,336,329.56         1,902,914.02        5,239,243.58


                                                    -12-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 13 of 20




                                                                              Partial        Total
    JLL Invoices Due from                 Outstanding Amount
                                                                              Payment        Invoice
    REEF                                  (CAD) as of 3/31/22
                                                                              Made           Amount
    Reef112321-Canada-1196                                       637.32             8,057.14     8,694.46
    Reef11422-Canada-1196                                     38,148.22                    -    38,148.22
    Reef122321-Canada-1196                                     1,435.87            18,152.60    19,588.47
    Reef12622-Canada-1196                                     38,964.82                    -    38,964.82
    Reef12921-Canada-1196                                      1,966.10            20,865.41    22,831.51
    Reef22122-Canada-1196                                     30,175.57                    -    30,175.57
    Reef22822-Canada-1196                                     58,951.96                    -    58,951.96
    Reef2922-Canada-1196                                     118,990.20                    -   118,990.20
    Reef31122-Canada-1196                                     42,411.81                    -    42,411.81
    Reef31822-Canada-1196                                     79,858.48                    -    79,858.48
    Reef32522-Canada-1196                                    137,050.51                    -   137,050.51
    TOTAL                                                    548,590.86           47,075.15    595,666.01

          I. Reef/Vessel’s Failure To Pay Leads JLL’s Subcontractors To Refuse Work

          57.     Since Reef/Vessel refused to pay JLL for the services rendered, JLL was

   unable, in turn, to pay its subcontractors who performed the actual maintenance and repair

   services requested by Reef/Vessel. This led JLL’s subcontractors to refuse to timely perform

   services requested by Reef/Vessel, via JLL.

          58.     Reef/Vessel’s failure to pay JLL’s invoices naturally led to a perception that

   JLL was not performing satisfactorily. This, in turn, impacted JLL’s KPI score in a negative

   way and accordingly JLL’s ability to receive some or all of its Management Fee “at risk.”

          59.     JLL’s KPI score for the first quarter of its performance (2021 Q3) was 2.0,

   which entitled JLL to sixty-five percent (65%) of its Management Fee. See January 18, 2022

   Letter (Exhibit E).

          60.     JLL received a KPI score for 2021 Q3 of 2.0, in part, because it could not meet

   certain performance metrics due to Reef/Vessel’s failure to fully and timely pay JLL’s

   invoices for the services provided.
                                                    -13-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 14 of 20




           61.    JLL advised Reef/Vessel that its KPI calculation was not a true reflection of

   JLL’s service level performance based, in part, on Reef/Vessel’s non-payment.

           62.    Reef/Vessel’s failure to fully and timely pay JLL’s invoices and resulting

   breaches of the MSA became so material and substantial, thereby frustrating JLL’s ability to

   timely perform its obligations, that JLL informed Reef/Vessel that it was suspending the “at

   risk” portion of the Management Fee for 2021 Q4 and thereafter until Reef/Vessel returned

   to a normal and consistent funding process.

           J. JLL Notifies Reef/Vessel of Non-Payment and then Terminates the Agreement

           63.    JLL sent Reef/Vessel multiple emails regarding its past due invoices, including

   emails in early 2022. JLL also repeatedly raised the lack of payment issue in several weekly

   leadership meetings with Reef/Vessel.

           64.    JLL advised that it operated in reliance on Reef/Vessel’s timely payment and

   was harmed by Reef/Vessel’s failure to timely pay the invoices.

           65.    Reef/Vessel was well aware of the rapidly-increasing outstanding balances,

   increasing by hundreds of thousands of dollars a week, resulting from its non-payment.

           66.    On March 7, 2022, after well more than sixty (60) days trying to work with

   Reef/Vessel to pay its bills, JLL was forced to send Vessel written notice of its default for its

   failure to pay multiple invoices that came due between November 24, 2021, and February 25,

   2022. JLL demanded that Reef/Vessel remedy the default and comply with its contractual

   obligations to pay for services by curing the late payments by March 18, 2022, as provided

   under Paragraph 3.1 of the MSA. See March 7, 2022 Letter (Exhibit I).

           67.    Reef/Vessel failed to cure its payment deficiencies and default by March 18,

   2022.


                                                    -14-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 15 of 20




          68.     On March 18, 2022, pursuant to Paragraph 3.1 of the MSA, JLL sent

   Reef/Vessel a letter terminating the MSA effective close of business that day. See March 18,

   2022 Letter (Exhibit J).

          69.     As of the filing of this action, Reef/Vessel has not made any further payments

   on the outstanding invoices.

          70.     The MSA entitles JLL to continue to seek payment of the outstanding invoices

   after it has terminated the agreement. See MSA, ¶ 3.2.

          71.     All conditions precedent to initiating this action have been satisfied or waived.

          72.     JLL has retained undersigned counsel and agreed to pay them a reasonable fee

   for their services in prosecuting this action.

                                COUNT I – BREACH OF CONTRACT
                                   (Against Reef for Pilot Project)

          73.     JLL incorporates by reference and realleges the allegations in Paragraphs 1

   through 72 above, as though fully set forth herein.

          74.     As set forth above, JLL and Reef entered into a binding and enforceable

   contractual agreement for the Parties’ pilot project.

          75.     Reef issued Purchase Order 15395 to JLL for monthly maintenance services.

          76.     JLL accepted Purchase Order 15395 and performed its obligations under the

   Parties’ agreement of providing monthly maintenance services as requested by Reef.

          77.     JLL issued invoices to Reef for the maintenance services performed for the pilot

   project pursuant to Purchase Order 15395.

          78.     Reef was required to pay the invoices within thirty (30) days of receipt.




                                                    -15-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 16 of 20




            79.    Reef materially breached its duties and obligations under the Parties’ agreement

   by failing to timely and fully remit payment to JLL for all of the invoices issued for monthly

   maintenance for the pilot project.

            80.    A chart detailing Reef’s payment failures for invoices for the pilot project is

   below:

                                                                               Partial        Total
    JLL Invoices Due from                  Outstanding Amount
                                                                               Payment        Invoice
    REEF                                   (USD) as of 3/31/22
                                                                               Made           Amount
    Reef111821-US-15395                                            587.43            3,091.73     3,679.16
    Reef112321-US-15395                                            602.64            3,171.81     3,774.45
    Reef121621-US-15395                                            370.26            1,948.76     2,319.02
    Reef12921-US-15395                                           7,245.20           38,132.00    45,377.20
    TOTAL                                                        8,805.53          46,344.30    55,149.83

            81.    As a direct and proximate result of Reef’s material breach of the Parties’

   contractual agreement by failing to pay the foregoing invoices for the pilot project, JLL has

   incurred damages.

            82.    JLL’s damages continue to increase as interest continues to accrue.

            WHEREFORE, Plaintiff JLL prays for judgment in its favor and against Defendant

   Reef for monetary damages, pre-judgment and post-judgment interest, litigation costs and

   expenses, and such other and further relief as the Court deems just and proper.

                             COUNT II – BREACH OF CONTRACT
                    (Against Reef and Vessel for the Master Services Agreement)

            83.    JLL incorporates by reference and realleges the allegations in Paragraphs 1

   through 72 above, as though fully set forth herein.

            84.    As set forth above, JLL and Vessel entered into a binding and enforceable

   contractual agreement, to wit: the MSA and its attachments.


                                                     -16-
                                          Shook, Hardy & Bacon L.L.P.
            Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 17 of 20




          85.     As set forth above, Reef, as Vessel’s alter ego, is also bound by the terms and

   conditions of the MSA and its attachments to the same extent as Vessel.

          86.     JLL performed its obligations under the Parties’ contractual agreement,

   including by providing the maintenance and repair services specified in the MSA and its

   SOW.

          87.     Pursuant to the Parties’ agreement, JLL submitted invoices for the work it and

   its subcontractors performed in response to the purchase orders and work orders submitted to

   JLL by Reef/Vessel.

          88.     Reef/Vessel materially breached its duties and obligations under the Parties’

   agreement to timely and fully remit payment to JLL for services provided and invoiced, as

   outlined in the preceding paragraphs.

          89.     As a direct and proximate result of Reef/Vessel’s material breach of the Parties’

   contractual agreement, JLL has incurred damages, including but not limited to the following

   categories:

                  a. Unpaid invoices for the services rendered by JLL and its subcontractors,

                       including but not limited to labor costs, management costs, and material

                       costs for a total unpaid balance as of the filing of this action of $3,327,524.03

                       and CA$548,590.86; and

                  b. The remaining Transition Fee as of March 18, 2022 of $190,383.

          90.     JLL is entitled to its full Management Fee and to the suspension of the “at risk”

   component of the Management Fee beginning in 2021 Q4 because Reef/Vessel frustrated and

   inhibited JLL’s ability to obtain a high KPI score due to Reef/Vessel’s failure to timely and

   fully make the payments required under the Parties’ agreement.


                                                    -17-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 18 of 20




          91.     JLL’s damages continue to increase as interest continues to accrue and invoices

   become due and are not paid.

          WHEREFORE, Plaintiff JLL prays for judgment in its favor and against Defendants

   Vessel and Reef jointly for monetary damages, pre-judgment and post-judgment interest,

   attorney’s fees, litigation costs and expenses, and such other and further relief as the Court

   deems just and proper.

                               COUNT III – UNJUST ENRICHMENT
                              (Against Reef and Vessel in the Alternative)

          92.     JLL incorporates by reference and realleges the allegations in Paragraphs 1

   through 72 above, as though fully set forth herein.

          93.     JLL pleads this count in the alternative to Counts I and II for breach of contract.

          94.     JLL has conferred a benefit on Reef/Vessel, including, but not limited to, the

   fact that JLL has provided maintenance and repair services for Reef/Vessel at its request and

   for which Reef/Vessel has not fully compensated JLL.

          95.     Reef/Vessel have knowledge of the benefit that was conferred by JLL,

   including, but not limited to, the fact that Reef/Vessel is aware that JLL has provided the

   maintenance and repair services and has requested payment for same.

          96.     Reef/Vessel voluntarily accepted and retained the benefit conferred by

   allowing JLL to perform the maintenance and repair services and then not paying for same.

          97.     Reef/Vessel’s retention of the benefit is inequitable unless it pays to JLL for the

   value of the benefit provided.

          WHEREFORE, Plaintiff JLL prays for judgment in its favor and against Defendants

   Vessel and Reef jointly for monetary damages, pre-judgment and post-judgment interest,



                                                    -18-
                                         Shook, Hardy & Bacon L.L.P.
           Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 19 of 20




   litigation costs and expenses, and such other and further relief as the Court deems just and

   proper.

                                    COUNT IV – OPEN ACCOUNT
                           (Against Reef and Vessel for Pilot Project and MSA)

           98.      JLL incorporates by reference and realleges the allegations in Paragraphs 1

   through 72 above, as though fully set forth herein.

           99.      JLL has provided maintenance and repair services for Reef/Vessel at the

   request of Reef/Vessel.

           100.     JLL has invoiced Reef/Vessel for the services provided.

           101.     JLL has demanded that Reef/Vessel pay the invoiced amounts due and owing,

   including providing Reef/Vessel with documents reflecting an accounting of the amounts

   owed. See Exhibit H.

           102.     Reef/Vessel has failed to fully and timely pay the invoiced amounts due and

   owing to JLL for the services it provided at Reef/Vessel’s request.

           103.     Reef/Vessel currently owes JLL $3,526,712.56 and CA$548,590.86, with

   interest.

           104.     JLL’s damages continue to increase as interest continues to accrue and invoices

   become due and are not paid.

           WHEREFORE, Plaintiff JLL prays for judgment in its favor and against Defendants

   Vessel and Reef jointly for monetary damages, pre-judgment and post-judgment interest,

   litigation costs and expenses, and such other and further relief as the Court deems just and

   proper.




                                                      -19-
                                           Shook, Hardy & Bacon L.L.P.
             Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
Case 1:22-cv-21118-MGC Document 1 Entered on FLSD Docket 04/12/2022 Page 20 of 20




   Date: April 12, 2022                     Respectfully submitted,

                                            /s/ Daniel B. Rogers
                                            Daniel B. Rogers (Florida Bar No. 195634)
                                            E-Mail: drogers@shb.com
                                            Matthew D. Bernstein (Florida Bar No. 92260)
                                            E-Mail: mbernstein@shb.com
                                            SHOOK, HARDY & BACON L.L.P.
                                            Citigroup Center, Suite 3200
                                            201 South Biscayne Blvd.
                                            Miami, Florida 33131
                                            T: (305) 358-5171

                                            Attorneys for Plaintiff Jones Lang LaSalle Americas, Inc.




                                                   -20-
                                        Shook, Hardy & Bacon L.L.P.
          Citigroup Center, Suite 3200 | 201 S. Biscayne Blvd. | Miami, Florida 33131-4332 | t 305.358.5171
